        Case 1:17-cr-00007-SPW Document 80 Filed 08/16/17 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                                                          FILED
                            BILLINGS DIVISION                                AUG 16 2017
                                                                        ~~~CtSO~istrict  Court
                                                                                . . Montana
                                                                               B111mgs
  UNITED STATES OF AMERICA,
                                                   CR 17-7-BLG-SPW-2
                       Plaintiff,

 vs.                                                ORDER

 JOSHUA JOSEPH OSTERMILLER,

                       Defendant.

       Upon the parties' Stipulation for Substitution of Counsel (Doc. 79),

       IT IS HEREBY ORDERED that Jeffrey G. Michael shall be substituted for

Steven C. Babcock as counsel of record for the above-named Defendant for all

further proceedings.

       The Clerk of Court is directed to notify counsel of the making of this Order.

       DATED this16th day of August, 2017.


                                              ~-~~L1::.~
                                              SUSANP. WATTERS
                                              United States District Judge




                                          1
